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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF PUERTO RICO


IN RE:

CARMELO CAEZ CRUZ                                                   14-08561-MCF
AMARILYS COLON FERNANDEZ
                                                                    CHAPTER 13
          DEBTOR(S)
************************************


                                 TRUSTEE’S MOTION TO DISMISS

TO THE HONORABLE COURT:

     Comes now Alejandro Oliveras Rivera, Chapter 13 Trustee and respectfully
states and prays:

     1.   The    meeting      of   creditors        was     held    November      18,    2014.       The   current
          proposed plan is dated 10-21-2014.
     2.   Debtor(s) failed to comply with the Bankruptcy Code, as follows:


          a. Plan is insufficiently funded to pay secured creditors.
          b. As per monthly operating reports submitted, debtor’s average net income is negative $572.91.
              Schedule “I” discloses debtor’s net income for $1,915.00.
          c. Debtor needs to clarify why SCMI, line 47a reflects that mortgage payment is $780.00 when the
              same has been disclosed for $895.00 in schedule “J”. Debtors need to clarify their current mortgage
              payment and provide evidence of payments post-petition.
          d. Debtors have an additional income coming from “after school kids” not disclosed in schedule “I”.
          e. Debtor needs to submit evidence of filing federal tax returns for yrs. 2010 thru 2013 (1040 PR).
          f. Debtor to submit Public Liability Insurance.
          g. Evidence of family assistance has not been provided.
          h. Plan does not specify if insurance for vehicle will be paid through the plan by trustee.
          i. Debtors need to disclose any other lease in which they are the lessors and/or lessees in schedule
              “G” besides lease with Nelly Rodriguez Rosario already disclosed in said schedule.
          j. Debtors need to specify in schedule “J” if dependents therein listed live with them.
          k. Trustee submits that debtors need to submit monthly operating reports up to confirmation in view of
              debtors’ negative income reported for the 6 mos. prior to filing. The same have not been forwarded to
              the trustee.


     3.   No extension of time or justification for failing to comply with the
          above has been filed.
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      4.    Debtor(s) is(are) not a member(s) of the U.S. Armed Forces, the Coast
            Guard,     the   Public   Health   Service   or   the    National   Oceanic      and
            Atmospheric Administration, as evidenced by the Certificate issued by
            the U.S. Department of Defense, copy of which is attached only to the
            original of this motion and movant’s copy.


     WHEREFORE, for the reasons stated above it is respectfully requested from
the Court to enter an order dismissing the present case pursuant to 11 U.S.C §521
and/or §1325 of the Bankruptcy Code.


30 DAY NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST: Within thirty (30) days
after service as evidenced by the certification, and an additional three (3) days
pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party
against whom this paper has been served, or any other party to the action who
objects to the relief sought herein, shall serve and file an objection or other
appropriate response to this paper with the clerk's office of the United States
Bankruptcy Court for the District of Puerto Rico. If no objection or other
response is filed within the time allowed herein, the paper will be deemed
unopposed and may be granted unless: (1) the requested relief is forbidden by
law; (2) the requested relief is against public policy; or (3) in the opinion of
the court, the interest of justice requires otherwise.


     CERTIFICATE OF SERVICE: I hereby certify that on this same date I
electronically filed the above document with the Clerk of the Court using the
CM/ECF System which sent a notification of such filing to all those who in this
case have registered for receipt     of notice by electronic mail.     I further
certify that I have served to the U.S. Trustee, ustpregion21.hr.ecf@usdoj.gov and
by depositing true and exact copies thereof in the United States Mail, postage
prepaid, to the non CM/ECF participants:      debtor(s) the mailing address of
record.


RESPECTFULLY SUBMITTED in San Juan, Puerto Rico this, 26TH of March 2015.


                                                               /s/ Alejandro Oliveras Rivera
                                                                ALEJANDRO OLIVERAS RIVERA
                                                                            CHAPTER 13 TRUSTEE
                                                                              P.O. Box 9024062
                                                                       San Juan, PR 00902-4062
                                                                    Tel. 977-3500 Fax 977-3521
                                                                                        CMC-SR




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Department of Defense Manpower DataDocument
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                                                                                                                                                                                         SCRA 3.0




Last Name: CAEZ CRUZ
First Name: CARMELO
Middle Name:
Active Duty Status As Of: Mar-26-2015

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                              Active Duty End Date                                           Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                      Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                              Active Duty End Date                                           Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Mary M. Snavely-Dixon, Director
Department of Defense - Manpower Data Center
4800 Mark Center Drive, Suite 04E25
Arlington, VA 22350
         Case:14-08561-MCF13 Doc#:17 Filed:03/26/15 Entered:03/26/15 09:07:28                                                          Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                          Document Page 4 of 6
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. § 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service via the
"defenselink.mil" URL: http://www.defenselink.mil/faq/pis/PC09SLDR.html. If you have evidence the person was on active duty for the active duty status
date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked against you. See 50 USC App. § 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC § 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC § 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC § 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.


Certificate ID: 9497OFB8210DM50
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Department of Defense Manpower DataDocument
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                                                                                                                                                                                         SCRA 3.0




Last Name: COLON FERNANDEZ
First Name: AMARILYS
Middle Name:
Active Duty Status As Of: Mar-26-2015

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                              Active Duty End Date                                           Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                      Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                              Active Duty End Date                                           Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

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                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

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Certificate ID: D4N74F18O10DJ60
